USCA4 Appeal: 07-4115     Doc: 99         Filed: 09/05/2008   Pg: 1 of 3


                                                                  Filed: September 5, 2008

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT
                                    1100 East Main Street, Suite 501
                                      Richmond, Virginia 23219-3517
                                           www.ca4.uscourts.gov

                                _______________________________

                                TRANSCRIPT ORDER ACKNOWLEDGMENT
                                _______________________________

        No.   07-4115, et al, US v. LaVon Dobie
                              8:04-cr-00235-RWT

         This Acknowledgment establishes a deadline for filing all transcript
         ordered from this court reporter, as follows:

        Court Reporter: Tracy Dunlap
        Current Deadline: 10/14/2008
        Proceedings: Jury Instructions (8/8/06 - 8/9/06); suppresson hearing
        (1/23/06); charge conference (6/31/06)

        If transcript has not been properly ordered or if appropriate financial
        arrangements have not been made, the court reporter must complete and file
        a Transcript Order Deficiency Notice with this Court within 7 calendar
        days. If the court reporter has grounds for an extension of time, a
        request for extension may be sought using the Transcript Extension Request
        form.

        This Court is notified of the filing of the Appeal Transcript in the
        District Court through the District Court=s CM/ECF system. If the
        transcript is not filed by the due date, a transcript sanction takes
        effect, as provided in the Guidelines for Preparation of Appellate
        Transcripts in the Fourth Circuit. If a transcript sanction is in effect,
        the court reporter must file a Transcript Sanction Certification Form with
        this Court at the time the transcript is filed with the District Court,
        certifying that the appropriate sanction has been deducted from the
        transcript fee.

        Court forms are available for completion as links from this notice and at
        the Court's web site, www.ca4.uscourts.gov.

        Sharon A. Wiley
        Deputy Clerk
        804-916-2704
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                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT

                                    TRANSCRIPT DEFICIENCY NOTICE

                           No. 07-4115, US v. LaVon Dobie
                                        8:04-cr-00235-RWT

         If there are problems with the Transcript Order or if the Court has not
         yet approved preparation of transcript at government expense, the Court
         Reporter should, within 7 days of receipt of the Transcript Order
         Acknowledgment from the Court of Appeals, file the Deficiency Notice
         form with the Court of Appeals and serve a copy on the party ordering
         the transcript and the District Court Reporter Coordinator.

        Court Reporter: Tracy Dunlap
        Current Deadline: 10/14/2008
        Extension Requested to:

        [ ]   Transcript Order is sufficient, but Criminal Justice Act funds have
        not been approved (CJA 24)

        [ ]   Transcript Order is sufficient, but motion for transcript at
        government expense has not been granted (28 U.S.C. § 753(f))

        [ ]   Satisfactory financial arrangements have not been made.          Please
        specify problem:

        [ ]     Transcript order is unclear. Please specify problem:

        [ ]     Transcript order has not been received (CJA 24)

        [ ]   Transcript order was received after receipt of              Acknowledgment.
        Please specify length of delay:

        [ ]     Other (please specify):

        Signature:

        Date:
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                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                  TRANSCRIPT EXTENSION REQUEST

                         No. 07-4115, US v. LaVon Dobie
                                      8:04-cr-00235-RWT

         If an extension of time is needed to complete the transcript, the court
         reporter may file a Transcript Extension Request with the Court of
         Appeals at least 10 days in advance of the deadline, setting forth
         specific information in support of the request. Copies of the Request
         shall be served on the parties to the case and the District Court
         Reporter Coordinator. The granting of an extension also constitutes a
         waiver of sanctions through the date of the extension.


        Court Reporter: Tracy Dunlap
        Current Deadline: 10/14/2008
        Extension Requested to:

        As of this date, approximately     pages have been completed and        pages
        are yet to be transcribed. Justification is as follows:

           1. Outstanding District Court transcripts ordered within 90 days of
              this request: Any pending appellate transcripts will be taken into
              consideration in deciding this request.




           2. In-Court Time: (give total days/hours by month)




           3. Travel: (give hours spent traveling to and from Court by month)




           4. Other: (please provide any other information you would like the
              Court to consider when reviewing your request. Please be aware that
              this information will be posted on the public docket.)




        Signature:

        Date:
